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AO 106A 08/18 A lication for a Warrant b Tele hone or Other Reliable Electronic Means

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                                                                                                                        r ,'.~--t:.
                                     UNITED STATES DISTRICT COURT
                                                                       for the                               8H AUG -t. AH 11: ll
                                                                District of Vermont             El                      '- t                ,_.,.
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              In the Matter of the Search of                               )
         (Briefly describe the property to be searched                     )
          or identify the person by name and address)
                                                                           )
      Two Cellular Telephones and Two Electronic                           )
                   Recording Devices                                       )
                                                                           )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A, incorporated herein by reference.
located in the                                    District of
                                                                - - - - - - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
               gf evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 if property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                               Offense Description

        21 U.S.C. §§ 841(a) & 846                 Distribution and Conspiracy to Distribute a Controlled Substance

          The application is based on these facts:
        See attached Affidavit, incorporated herein by reference.

           if Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested under
             18 U .S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                     /s/ Jason Johnson
                                                                                                     Applicant's signature

                                                                                                Jason Johnson, TFO, FBI
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      FaceTime                         (specify reliable electronic means).


Date:            08/04/2023


City and state: _B_u_rli_n_g_to_n_,_VT
                                     _ _ _ _ _ _ _ __                                   Hon. Kevin J. Doyle, U.S. Magistrate Judge
                                                                                                     Printed name and title
